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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. Case No. 21-cr-3 (RCL)

JACOB ANTHONY CHANSLEY,

Defendant.

 

 

ORDER

Having found reasonable cause to believe that a competency examination of defendant
Jacob Anthony Chansley is warranted, the Court hereby ORDERS that a psychological
examination be conducted. See 18 U.S.C. § 4241(a)-(b).

Accordingly, it is hereby ORDERED that the defendant be committed to the custody of
the Attorney General of the United States pursuant to 18 U.S.C. § 4247(b) for a period not to
exceed thirty (30) days for placement in a suitable facility for a competency examination. The
examination shall be conducted by a licensed or certified psychiatrist and/or psychologist, or more
than one such examiner. A report shall be prepared by the examiner and shall be filed under seal
with the Court with copies provided to counsel for the defendant and to the attorney for the
Government. The report shall include:

(1) The defendant’s history and any present mental-health symptoms relevant to his legal
competency;

(2) A description of the psychiatric, psychological, and medical tests that were employed
and their results;

(3) The examiner’s findings;

(4) The examiner’s opinions as to diagnosis and prognosis; and
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(5) Whether the defendant is “presently suffering from a mental disease or defect rendering
him mentally incompetent to the extent that he is unable to understand the nature and
consequences of the proceedings against him or to assist properly in his defense.”
18 U.S.C. § 4241(a).

It is further ORDERED that the United States Marshal shall transport the defendant to a
designated facility for the examination.

It is further ORDERED that until such time as the defendant is found competent to stand
trial, any “delay resulting from any proceeding, including any examinations, to determine the
mental competency or physical capacity of the defendant” will be excluded pursuant to 18 U.S.C.
§ 3161(h)(1)(A) in computing time for all purposes and calculations under the Speedy Trial Act.

It is further ORDERED that, pursuant to 18 U.S.C. § 3161(h)(1)(F), ten (10) days’ delay
resulting from the defendant’s transportation to and from the facility for purposes of the
competency evaluation will be excluded from the time within which his trial must commence. Any
delay resulting from the defendant’s transportation between this district and the suitable facility
for his examination in excess of ten (10) days is presumptively unreasonable and not excluded
under the Speedy Trial Act. Accordingly, the Court requests that the United States Marshals
Service makes every effort to transfer the defendant promptly and directly to and from the suitable
facility, without intermediate stops or holdovers.

It is further ORDERED that ten (10) days from the date of this Order and every ten (10)
days thereafter; the Government shall provide a status report addressing: (a) The status of the
defendant’s placement at a suitable facility for the competency evaluation; and (b) his
transportation to that facility by the United States Marshals Service.

Itis SO ORDERED.

Date: May ©! 2021 “Cpe Klee

Hon. Royce C. Lamberth
United States District Judge
